     Case: 1:13-cv-02635 Document #: 307 Filed: 05/14/21 Page 1 of 4 PageID #:5796




                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                                 )
ALAN CARLSON & PETER DELUCA,                     ) Civil Action No. 13-cv-2635
individually and on behalf of a class of         )
similarly situated individuals,                  ) Judge Andrea Wood
                                                 )
               Plaintiffs,                       ) Magistrate Judge Maria Valdez
                                                 )
v.                                               )
                                                 )
NORTHROP GRUMMAN CORPORATION                     )
and the NORTHROP GRUMMAN                         )
SEVERANCE PLAN,                                  )
                                                 )
                                                 )
               Defendants.                       )

               PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY

        Plaintiffs Alan Carlson and Peter DeLuca, individually and on behalf of the certified

Class, pursuant to Local Rule 56.1, hereby submit this Notice of Supplemental Authority

Pertaining to the pending Cross-Motions for Summary Judgment on Count I of the Amended

Complaint. Defendants have argued Plaintiffs are barred from making certain arguments in

litigation because they did not make that specific argument during administrative claim review.

(Dkt. No. 288 at 7). Plaintiffs replied explaining ERISA benefit claims do not require issue

exhaustion. (Dkt. No. 291 at 6–7).

        On April 22, 2021, after the parties completed briefing of the cross-motions, the Supreme

Court decided Carr v. Saul, 141 S. Ct. 1352 (2021). In the context of administrative law, the

Court held that where statutes and regulations do not explicitly require issue exhaustion, the

degree to which the administrative proceeding mirrors normal adversarial litigation determines

whether issue exhaustion prior to litigation is required. Saul, 141 S. Ct. at 1358. “The critical

feature that distinguishes adversarial proceedings from inquisitorial ones is whether claimants
   Case: 1:13-cv-02635 Document #: 307 Filed: 05/14/21 Page 2 of 4 PageID #:5797




bear the responsibility to develop issues for adjudicators’ considerations.” Id. “‘The differences

between courts and agencies are nowhere more pronounced than in Social Security proceedings,’

where administrative ‘proceedings are inquisitorial rather than adversarial.’” Id. at 1359 (quoting

Sims v. Apfel, 530 U.S. 103, 110–111 (2000)). The Supreme Court reasoned that when an

administrative proceeding represents an adversarial process, the stronger the case to require issue

exhaustion, similar to a Circuit Court of Appeals after District Court litigation. But where the

administrative process is designed to be non-adversarial, there is no basis to require issue

exhaustion. Id. at 1359–60.

       The Seventh Circuit has repeatedly referred to ERISA benefit claims administrative claim

exhaustion as a non-adversarial proceeding. See, e.g., Edwards v. Briggs & Stratton Ret. Plan,

639 F.3d 355, 360 (7th Cir. 2011) (explaining the reason to require a claimant to exhaust going

through administrative remedies is that the process is non-adversarial); Powell v. AT&T

Commc’ns, Inc., 938 F.2d 823, 826 (7th Cir. 1991) (same). ERISA plan administrators are

fiduciaries to the claimants, not adversaries.

       The Seventh Circuit also has held it may treat employee benefit plan administrators “just

like administrative law judges implementing the Social Security disability-benefits program.”

Perlman v. Swiss Bank Corp. Comprehensive Disability Protection Plan, 195 F.3d 975, 978 (7th

Cir. 1999); accord Quinn v. Blue Cross & Blue Shield Ass’n, 161 F.3d 472, 476–78 (7th Cir.

1998); Schleibaum v. Kmart, 153 F.3d 496, 503 (7th Cir. 1998).

       As such, the recent Supreme Court decision in Carr instructs to how to reconcile the

judicially created requirement to exhaust administrative remedies in ERISA benefit claims, with

whether to further require “issue exhaustion” during the process of exhausting those remedies.

ERISA administrators are fiduciaries. While a claimant must exhaust the claim and appeal



                                                 2
   Case: 1:13-cv-02635 Document #: 307 Filed: 05/14/21 Page 3 of 4 PageID #:5798




process before litigation, the claimant need not raise a specific issue during the administrative

process with respect to the claim to raise that issue in litigation.


Dated: May 14, 2021                            Respectfully submitted,


                                               /s/ Michael Bartolic
                                               Michael Bartolic
                                               Bartolic Law
                                               180 W. Washington Street Suite 700
                                               Chicago, Illinois 60602
                                               Tel: 312-635-1600
                                               Email: michael@bartoliclaw.com

                                               R. Joseph Barton
                                               Block & Leviton LLP
                                               1735 20th Street, NW
                                               Washington, DC 20009
                                               Tel: 202-734-7046
                                               Email: jbarton@blockesq.com

                                               Vincent Cheng
                                               Block & Leviton LLP
                                               100 Pine Street, Suite 1250
                                               San Francisco, CA 94111
                                               Tel: 510-543-0489
                                               Email: vincent@blockesq.com

                                               Attorneys for Plaintiffs




                                                   3
   Case: 1:13-cv-02635 Document #: 307 Filed: 05/14/21 Page 4 of 4 PageID #:5799




                                CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that a true and correct copy of the foregoing

was served upon all parties of record via the Electronic Filing System of the U.S. District Court

for the Northern District of Illinois on May 14, 2021.

                                                            /s/ Michael Bartolic
                                                            Michael Bartolic




                                                4
